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          11       AMAZON LOGISTICS, INC. (erroneously sued
                   as AMAZON FLEX, a business entity of
          12       unknown form)
          13
          14
                                        UNITED STATES DISTRICT COURT
          15
                                       CENTRAL DISTRICT OF CALIFORNIA
          16
                   ALEJANDRO GARCIA PUENTES, on            CASE NO. 2:21-cv-00414
          17       behalf of himself, and all others
                   similarly situated,                     DEFENDANTS AMAZON.COM
          18                                               SERVICES LLC’S AND AMAZON
                                    Plaintiff,             LOGISTICS, INC.’S
          19                                               (ERRONEOUSLY SUED AS
                         v.                                AMAZON FLEX, A BUSINESS
          20                                               ENTITY OF UNKNOWN FORM)
                   AMAZON.COM SERVICES LLC, a              NOTICE OF REMOVAL OF CLASS
          21       Delaware limited liability company;     ACTION
                   AMAZON FLEX, a business entity of
          22       unknown form; and DOES 1 through
                   20, inclusive,                           (Los Angeles County Superior Court
          23                                                Case No. 20STCV43846)
                                    Defendants.
          24                                               Action Filed:    November 13, 2020
                                                           Trial Date:      None Set
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            1      TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
            2      CENTRAL DISTRICT OF CALIFORNIA, AND TO PLAINTIFF ALEJANDRO
            3      GARCIA PUENTES AND HIS COUNSEL OF RECORD:
            4              PLEASE TAKE NOTICE THAT, pursuant to the Class Action Fairness Act of
            5      2005, 28 U.S.C. §§ 1332(d), 1453, and 1711, Defendants Amazon.com Services LLC
            6      and Amazon Logistics, Inc. (erroneously sued as Amazon Flex “a business entity of
            7      unknown form”) 1 (together, “Amazon”) hereby remove to the United States District
            8      Court for the Central District of California the above-captioned state court action,
            9      originally filed as Case No. 20STCV43846 in Los Angeles County Superior Court, State
          10       of California. Removal is proper on the following grounds:
          11                                I.    TIMELINESS OF REMOVAL
          12               1.    Plaintiff Alejandro Garcia Puentes (“Plaintiff”) filed a putative Class
          13       Action Complaint against Amazon.com Services LLC and “Amazon Flex, a business
          14       entity of unknown form” in Los Angeles County Superior Court, State of California,
          15       Case No. 20STCV43846, on November 13, 2020. Pursuant to 28 U.S.C. § 1446(a), true
          16       and correct copies of the (a) Summons, (b) Class Action Complaint, (c) Civil Case Cover
          17       Sheet, (d) Civil Case Cover Sheet Addendum and Statement of Location, (e) Notice of
          18       Case Assignment – Unlimited Civil Case, (f) Initial Status Conference Order, (g) Minute
          19       Order Regarding Newly Filed Class Action, (h) Clerk’s Certificate of Mailing, (i) Proof
          20       of Service of Summons on Amazon.com Services LLC, and (j) Proof of Service of
          21       Summons on “Amazon Flex” are attached as Exhibits A–J to the Declaration of Michael
          22       Holecek (“Holecek Decl.”) filed concurrently here.
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                        Plaintiff purportedly served “Amazon Flex, a business entity of unknown form” by
          25            delivering a copy of the Summons and Complaint to Amazon.com Services LLC.
                        See Declaration of Michael Holecek, Ex. J. “Amazon Flex” is not a legal entity, but
          26            refers to the Amazon Flex Program, which allows independent contractors to contract
                        with Amazon Logistics, Inc. However, because Plaintiff contends service was
          27            effected on “Amazon Flex,” this Notice of Removal is made on behalf of
                        Amazon.com Services LLC and Amazon Logistics, Inc. which appears to have been
          28            erroneously named as “Amazon Flex.” Defendants reserve the right to challenge the
                        improper naming of “Amazon Flex” as a defendant in this action.
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            1               2.     According to the Notice of Service of Process, Plaintiff personally served
            2      Amazon through its registered agent for service of process on December 17, 2020. See
            3      Holecek Decl. ¶ 10, Ex. I. Consequently, service was completed on December 17, 2020.
            4      This notice of removal is timely because it is filed within 30 days after service was
            5      completed. 28 U.S.C. § 1446(b).
            6         II.        SUMMARY OF ALLEGATIONS AND GROUNDS FOR REMOVAL
            7               3.     Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1453 because this
            8      Court has subject matter jurisdiction over this action and all claims asserted against
            9      Amazon pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C.
          10       § 1332(d).
          11                4.     CAFA applies “to any class action before or after the entry of a class
          12       certification order by the court with respect to that action.” 28 U.S.C. § 1332(d)(8). This
          13       case is a putative “class action” under CAFA because it was brought under California
          14       Code of Civil Procedure § 382, California’s state statute or rule authorizing an action to
          15       be brought by one or more representative persons as a class action. See 28 U.S.C.
          16       § 1332(d)(1)(B); see also Holecek Decl. Ex. B, Compl. ¶ 48.
          17                5.     Plaintiff asks the Court to “issue an Order certifying the Classes” Plaintiff
          18       pleads in his Complaint. Holecek Decl. Ex. B, Compl., Prayer for Relief. He seeks to
          19       represent “[a]ll California citizens employed [Amazon]” as “‘delivery driver[s]’” “who
          20       have worked for [Amazon] in the four years prior to the filing of the original Complaint.”
          21       Id., Compl. ¶¶ 49–56.
          22                6.     In his Complaint, Plaintiff alleges eight causes of action against Amazon:
          23       (1) Misclassification of Employee as “Independent Contractor”; (2) Failure to Pay
          24       Wages; (3) Failure to Pay Minimum Wages; (4) Failure to Indemnify for Necessary
          25       Business Expenses; (5) Failure to Provide Lawful Meal and Rest Periods; (6) Failure to
          26       Provide Itemized Wage and Hour Statements; (7) Waiting Time Penalties; and (8)
          27       Violations of Unfair Competition Law.
          28

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            1            7.     Among other things, Plaintiff alleges that putative class members are
            2      entitled to unpaid wages, premiums for missed meal and rest breaks, restitution, interest,
            3      and attorneys’ fees and costs. See Holecek Decl. Ex. B, Compl., Prayer for Relief.
            4            8.     Removal of a class action is proper if: (1) there are at least 100 members in
            5      the putative class; (2) there is minimal diversity between the parties, such that at least
            6      one class member is a citizen of a state different from any defendant; and (3) the
            7      aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.
            8      See 28 U.S.C. §§ 1332(d), 1441.
            9            9.     Amazon denies any liability in this case, both as to Plaintiff’s individual
          10       claims and as to the claims he seeks to pursue on behalf of the putative class. Amazon
          11       also intends to oppose class certification and believes that class treatment is
          12       inappropriate under these circumstances in part because there are many material
          13       differences between the experiences of Plaintiff and the putative class members he seeks
          14       to represent. Amazon expressly reserves all rights to oppose class certification and to
          15       contest the merits of all claims asserted in the Complaint. However, for purposes of the
          16       jurisdictional requirements for removal only, the allegations in Plaintiff’s Complaint
          17       identify a putative class of more than 100 members and put in controversy, in the
          18       aggregate, an amount that exceeds $5 million. See 28 U.S.C. § 1332(d)(6).
          19       A.    The Proposed Class Consists of More than 100 Members
          20             10.    Based on Plaintiff’s allegations, this action satisfies CAFA’s requirement
          21       that the putative class contains at least 100 members. See 28 U.S.C. § 1332(d)(5)(B).
          22             11.    Plaintiff’s proposed class consists of “[a]ll California citizens employed
          23       [Amazon]” as “‘delivery driver[s]’” “who have worked for [Amazon] in the four years
          24       prior to the filing of the original Complaint”—between November 13, 2016 and
          25       November 13, 2020. Holecek Decl., Ex. B, Compl. ¶¶ 49–56. Plaintiff therefore seeks
          26       to represent a class comprised of other independent contractors who, like Plaintiff,
          27       contracted with Amazon to provide delivery services through the Amazon Flex Program.
          28       See, e.g., id. ¶¶ 6, 84. These independent contractor workers are known as Delivery

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            1      Partners (“DPs”). Id., Ex. J, Declaration of Alexa Harwysz submitted in Diaz, et al. v.
            2      Amazon.com, Inc., et al., Case No. 3:20-cv-07792-VC, Dkt. 1-2 (“Harwysz Decl.”) ¶ 3.
            3      According to Amazon’s records, there were at least 10,000 individuals who had active
            4      contracts with Amazon to provide delivery services through the Amazon Flex Program
            5      as independent contractors in California between August 21, 2019 and August 21, 2020.
            6      Id. ¶ 5. 2
            7              12.    Accordingly, while Amazon denies that class treatment is permissible or
            8      appropriate, the proposed class consists well over 100 members.
            9      B.      Amazon and Plaintiff Are Not Citizens of the Same State
          10               13.    Under CAFA’s minimum diversity of citizenship requirement, the plaintiff
          11       or any member of the putative class must be a citizen of a different state from any
          12       defendant. See 28 U.S.C. § 1332(d)(2)(A).
          13               14.    A person is a citizen of the state in which he or she is domiciled. Kantor v.
          14       Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). A party’s residence is
          15       prima facie evidence of his or her domicile. Ayala v. Cox Auto., Inc., 2016 WL 6561284,
          16       at *4 (C.D. Cal. Nov. 4, 2016) (citing State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d
          17       514, 520 (10th Cir. 1994)). Plaintiff alleges that he “is now, and at all times mentioned
          18       in th[e] Complaint, was a citizen of the State of California.” Holecek Decl., Ex. B,
          19       Compl. ¶ 10. Plaintiff is therefore considered a citizen of California for purposes of
          20       removal. See Ayala, 2016 WL 6561284, at *4.
          21               15.    A corporation is a citizen of its state of incorporation and the state of its
          22       principal place of business. 28 U.S.C. § 1332(c)(1). “[A]n LLC is a citizen of every
          23       state of which its owners/members are citizens.” Johnson v. Columbia Props.
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                        Amazon previously submitted this information with its successful removal of Diaz,
                        et al. v. Amazon.com, Inc., et al., Case No. 3:20-cv-07792-VC, Dkt. 1, to the United
          26            States District Court for the Northern District of California. Amazon reserves the
                        right to present more evidence of the sizes of Plaintiff’s putative classes in this action,
          27            should “plaintiff contest[], or the court question[],” Amazon’s “plausible allegation”
                        regarding class size. Dart Cherokee Basin Op. Co., LLC v. Owens, 574 U.S. 81, 89
          28            (2014).
                                                                                          (Cont’d on next page)
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            1       Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Amazon.com Services LLC is a
            2       limited liability company organized under the laws of Delaware and has its principal
            3       place of business in Seattle, Washington. Holecek Decl., Ex. K, Declaration of Zane
            4       Brown submitted in Clayborn v. Amazon.com Services Inc., et al., Case No. 5:20-cv-
            5       02368-JVS-SHK, Dkt. 1-1 (“Brown Decl.”) ¶ 2. 3 Amazon.com, Inc. is the sole member
            6       of Amazon.com Services LLC and Amazon.com Services LLC is wholly owned by
            7       Amazon.com, Inc., which is a Delaware corporation with its principal place of business
            8       in Washington. Id.
            9               16.   The Supreme Court has interpreted the phrase “principal place of business”
          10        in 28 U.S.C. § 1332(c)(1) & (d)(2)(A) to mean “the place where a corporation’s officers
          11        direct, control, and coordinate the corporation’s activities,” i.e., its “nerve center,” which
          12        “should normally be the place where the corporation maintains its headquarters,
          13        provided that the headquarters is the actual center of direction, control, and
          14        coordination.” Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010). Amazon.com Services
          15        LLC’s and Amazon.com, Inc’s headquarters, which are located in Washington,
          16        constitute their “nerve center[s]” under the test adopted in Hertz because their high-level
          17        officers oversee each corporation’s activities from that state. See Holecek Decl., Ex. K,
          18        Brown Decl. ¶ 2. As such, Amazon.com Services LLC is a citizen of Delaware and
          19        Washington. See 28 U.S.C. § 1332(c)(1); Johnson, 437 F.3d at 899.
          20                17.   Amazon Flex is a smartphone-application-based program that Amazon
          21        Logistics, Inc. uses to contract with independent contractors to provide local delivery
          22        services. See Holecek Decl., Ex. J, Harwysz Decl. ¶ 3. Consequently, Amazon Flex is
          23        not an entity and was thus improperly named in Plaintiff’s Complaint. However, even
          24        if Plaintiff asserted claims against Amazon Logistics, Inc., minimal diversity would still
          25        exist because Amazon Logistics, Inc. is a Delaware corporation with its principal place
          26        of business in Washington. Id. ¶ 2.
          27
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                         Amazon previously submitted this information with its successful removal of
          28             Clayborn v. Amazon.com Services Inc., et al., Case No. 5:20-cv-02368-JVS-SHK,
                         Dkt. 1, to the United States District Court for the Central District of California.
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            1             18.    Accordingly, Plaintiff and Amazon are citizens of different states and
            2       CAFA’s minimal diversity requirement is met. 28 U.S.C. § 1332(d)(2)(A).
            3       C.    The Amount In Controversy Exceeds $5 Million
            4             19.    CAFA requires that the amount in controversy in a class action exceed $5
            5       million, exclusive of interests and costs. 28 U.S.C. § 1332(d)(2). In calculating the
            6       amount in controversy, a court must aggregate the claims of all individual class
            7       members. 28 U.S.C. § 1332(d)(6).
            8             20.    Plaintiff’s Complaint attempts to plead that the individual and class claims
            9       are “under the $5[ million] threshold” (Holecek Decl., Ex. B, Compl. ¶ 9), but he does
          10        not have the power to bind absent class members to this, certainly by way of an allegation
          11        made on information and belief. As the Supreme Court has held, a named plaintiff’s
          12        pre-certification stipulation to limit the damages claims of absent class members “does
          13        not resolve the amount-in-controversy question” because such a plaintiff cannot “bind
          14        the rest of the class.” Std. Fire Ins. Co. v. Knowles, 568 U.S. 588, 596 (2013).
          15        Accordingly, “when following [CAFA] to aggregate the proposed class members’
          16        claims,” a court should “ignore[] the stipulation.” Id.
          17              21.    “[A] defendant’s notice of removal need include only a plausible allegation
          18        that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee
          19        Basin Op. Co. v. Owens, 574 U.S. 81, 89 (2014). To satisfy this burden, a defendant
          20        may rely on a “reasonable” “chain of reasoning” that is based on “reasonable”
          21        “assumptions.” LaCross v. Knight Transp. Inc., 775 F.3d 1200, 1201 (9th Cir. 2015).
          22        “An assumption may be reasonable if it is founded on the allegations of the complaint.”
          23        Arias v. Residence Inn by Marriott, 936 F.3d 920, 925 (9th Cir. 2019); see also Salter v.
          24        Quality Carriers, Inc., 974 F.3d 959, 959 (9th Cir. 2020) (“[I]n Arias we held that a
          25        removing defendant’s notice of removal need not contain evidentiary submissions but
          26        only plausible allegations of jurisdictional elements,” quotations and citations omitted).
          27        That is because “[t]he amount in controversy is simply an estimate of the total amount
          28        in disputes, not a prospective assessment of defendant’s liability.” Lewis v. Verizon

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            1       Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010). “[W]hen a defendant seeks federal-
            2       court adjudication, the defendant’s amount-in-controversy allegation should be accepted
            3       when not contested by the plaintiff or questioned by the court.” Dart Cherokee, 574
            4       U.S. at 87. Importantly, plaintiffs seeking to represent a putative class cannot “bind the
            5       absent class” through statements aimed to limit their recovery in an effort to “avoid
            6       removal to federal court.” Std. Fire Ins. Co., 568 U.S. at 595–96.
            7             22.    Moreover, in assessing whether the amount in controversy requirement has
            8       been satisfied, “a court must ‘assume that the allegations of the complaint are true and
            9       that a jury will return a verdict for the plaintiff on all claims made in the complaint.’”
          10        Campbell v. Vitran Exp., Inc., 471 F. App’x 646, 648 (9th Cir. 2012) (quoting Kenneth
          11        Rothschild Tr. v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal.
          12        2002)). In other words, the focus of the Court’s inquiry must be on “what amount is put
          13        ‘in controversy’ by the plaintiff’s complaint, not what a defendant will actually owe.”
          14        Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing
          15        Rippee v. Boston Mkt. Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005)).
          16              23.    Although Amazon denies that Plaintiff’s claims have any merit, for the
          17        purposes of meeting the jurisdictional requirements for removal only, if Plaintiff were
          18        to prevail on every claim and allegation in his Complaint on behalf of the putative class,
          19        the requested monetary recovery would exceed $5 million.
          20              24.    Amazon reserves the right to present evidence establishing the amount
          21        placed in controversy by each of Plaintiff’s claims should Plaintiff challenge whether
          22        the jurisdictional amount-in-controversy threshold is satisfied. See Dart Cherokee, 574
          23        U.S. at 87–89; see also Salter, 974 F.3d at 959 (holding that only a “factual attack” that
          24        “contests the truth of the plaintiff’s factual allegations, usually by introducing evidence
          25        outside the pleadings” requires the removing defendant to “support her jurisdictional
          26        allegations with competent proof,” quotations and citations omitted). “[W]hen a notice
          27        of removal plausibly alleges a basis for federal court jurisdiction, a district court may
          28        not remand the case back to state court without giving the defendant an opportunity to

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            1       show by a preponderance of the evidence that the jurisdictional requirements are met.”
            2       Arias, 936 F.3d at 924. But for present purposes, it is sufficient to note that Plaintiff’s
            3       claims regarding intentional misclassification, inaccurate wage statements, and waiting
            4       time penalties alone place more than $5 million in controversy.
            5             1.       Plaintiff’s Claim for Intentional Misclassification Alone Places Nearly
            6                      $5 Million in Controversy
            7             25.      Plaintiff alleges in his First Cause of Action that Amazon “purposefully
            8       misclassified” Plaintiff and the putative class as “Independent Contractor[s].” See
            9       Holecek Decl., Ex. B, Compl. ¶¶ 80–82. On this ground, Plaintiff seeks, among other
          10        things, “penalties of $25,000.00 for each violation, in addition to any other penalties or
          11        fines permitted by law.” Id. ¶ 85.
          12              26.      Under Labor Code section 226.8(a), it is “unlawful for an[] employer to . .
          13        . [w]illful[ly] misclassif[y] an individual as an independent contractor.” If an employer
          14        violates section 226.8(a) it is “subject to a civil penalty of not less than five thousand
          15        dollars ($5,000) and not more than fifteen thousand dollars ($15,000) for each
          16        violation.” Cal. Lab. Code § 226.8(b). If an employer “engag[es] in a pattern or practice
          17        of these violations” it is “subject to a civil penalty of not less than ten thousand dollars
          18        ($10,000) and not more than twenty-five thousand dollars ($25,000) for each violation.”
          19        Id. § 226.8(c).
          20              27.      Amazon denies that any such penalties are owed to Plaintiff or putative
          21        class members, or that they are a proper form of relief at all. However, for purposes of
          22        this jurisdictional analysis only, Amazon relies on Plaintiff’s allegations that the
          23        penalties are owed.      Plaintiff alleges that “[d]uring the appropriate time period,
          24        [Amazon’s] non-exempt delivery drivers are and were misclassified as . . . independent
          25        contractor[s].” Id. ¶ 6. Accordingly, it is reasonable to assume for the purposes of this
          26        jurisdictional analysis only, that all class members were misclassified as independent
          27        contractors.
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            1             28.    Between August 21, 2019 and August 21, 2020, Amazon’s records show
            2       that there were at least 10,000 individuals who had active contracts with Amazon to
            3       provide delivery services through the Amazon Flex Program as independent contractors
            4       in California. Id., Ex. J, Harwysz Decl. ¶ 5. Even assuming only 700 of these individuals
            5       were improperly misclassified as independent contractors based on Plaintiff’s
            6       allegations, and based on the minimum civil penalty of $5,000 per violation under Labor
            7       Code § 226.8(b), the amount in controversy with respect to Plaintiff’s First Cause of
            8       Action alone is approximately $3.5 million, calculated as follows:
            9            Conservative amount in controversy for Plaintiff’s
                         misclassification claim based on 700 of the more than
          10
                         10,000 DPs (700 DPs x $5,000):                                      $3,500,000
          11
                          29.    The amount in controversy alleged by Plaintiff on this claim alone almost
          12
                    meets the $5 million requirement and is based on a conservative estimate of the number
          13
                    of DPs in the class period.
          14
                          2.     Plaintiff’s Claim for Alleged Violation of Labor Code Section 226
          15
                                 Alone Places Nearly $5 Million in Controversy
          16
                          30.    Plaintiff alleges in his Sixth Cause of Action that Amazon failed to provide
          17
                    Plaintiff and putative class members with “timely and accurate wage and hour
          18
                    statements” that “caus[ed] each of them not to be paid wages they were entitled to” and
          19
                    “deceiv[ed] them regarding their entitlement to minimum wages, meal period and rest
          20
                    period wages.” Holecek Decl., Ex. B, Compl. ¶¶ 121, 123. On this ground, Plaintiff
          21
                    seeks, among other things, “$50.00 in civil penalties for the initial pay period, in which
          22
                    a violation occurred, and $100.00 per employee for each subsequent pay period, up to a
          23
                    statutory maximum of $4,000.00” under Labor Code section 226. Id., Compl. ¶ 119.
          24
                          31.    Under section 226(e)(1), an employee suffering injury as a result of an
          25
                    intentional failure to comply with section 226(a) is entitled to “recover the greater of all
          26
                    actual damages or fifty dollars ($50) for the initial pay period in which a violation occurs
          27
                    and one hundred dollars ($100) per employee for each violation in a subsequent pay
          28

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            1       period, not to exceed an aggregate penalty of four thousand dollars ($4,000), and is
            2       entitled to an award of costs and reasonable attorney’s fees.” Cal. Lab. Code § 226(e)(1).
            3               32.   Amazon denies that any such penalties are owed to Plaintiff or putative
            4       class members. However, for purposes of this jurisdictional analysis only, Amazon
            5       relies on Plaintiff’s allegations that the penalties are owed. Plaintiff alleges that Amazon
            6       “[a]t all relevant times . . . failed to provide” accurate wage statements because of its
            7       alleged underlying failures to provide “wages [Plaintiff and putative class members]
            8       were entitled to,” including “minimum wages, meal period and rest period wages.”
            9       Holecek Decl., Ex. B, Compl. ¶¶ 121, 123; see also id. ¶¶ 15, 24. Plaintiff’s wage
          10        statement claim is therefore entirely derivative of his other claims for unpaid wages,
          11        including minimum wage and other premium wages. Plaintiff alleges that “[b]ecause
          12        [Amazon] misclassified” Plaintiff and putative class members “at no time during [their]
          13        employment” were they “provided with . . . itemized wage statements as required by
          14        law.” See id. ¶¶ 15, 24–25. Based on those allegations, it is reasonable to assume for
          15        the purposes of this jurisdictional analysis only, that all class members received
          16        inaccurate wage statements each pay period. See Mejia v. DHL Express (USA), Inc.,
          17        2015 WL 2452755, at *5 (C.D. Cal. May 21, 2015) (concluding it is appropriate to use
          18        100% violation rate for wage statement claim where the claim is derivative); Soto v.
          19        Tech Packaging, Inc., 2019 WL 6492245, at *7 (C.D. Cal. Dec. 3, 2019). 4
          20                33.   Between August 21, 2019 and August 21, 2020, Amazon’s records show
          21        that there were at least 10,000 DPs in California with active contracts to perform delivery
          22        services over more than an aggregate of 100,000 weekly periods. Id., Ex. J, Harwysz
          23        Decl. ¶ 5. During this time, it was Amazon’s practice to pay DPs twice each week for
          24        services performed. Id. Even if there were only 48,000 inaccurate wage statements—
          25        less than 25% of the more than 200,000 potential wage statements—Plaintiff’s wage
          26        statement claim alone would place nearly $5 million in controversy. Based on this very
          27
                     4
                         Amazon does not concede that penalties under § 226 are recoverable for an entirely
          28             derivative theory like the one Plaintiff advances here. See Mays v. Wal-Mart Stores,
                         Inc., 804 F. App’x 641, 643 (9th Cir. Mar. 17, 2020).
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            1       conservative estimate, and on Plaintiff’s allegations, the amount in controversy with
            2       respect to Plaintiff’s Sixth Cause of Action alone is approximately $4.4 million,
            3       calculated as follows:
            4            Penalty for initial pay period for 8,000 of the more than
                         10,000 DPs (8,000 initial pay periods x $50):                        $400,000
            5
                         Penalty for 40,000 subsequent pay periods
            6
                         (40,000 subsequent pay periods x $100):                            $4,000,000
            7            Conservative amount in controversy for section 226 claim,
            8            based on Plaintiff’s allegations:                                  $4,400,000
            9             34.    The amount in controversy alleged by Plaintiff on this claim alone nearly
          10        meets the $5 million requirement and is based on a conservative estimate of the number
          11        of DPs in the class period and the alleged number of pay periods worked by those DPs.
          12              3.     Plaintiff’s Request for Waiting Time Penalties Places An Additional
          13                     $1.44 Million In Controversy
          14              35.    Plaintiff also alleges that he and other putative class members who stopped
          15        working with Amazon are entitled to recover “waiting time penalties” pursuant to Labor
          16        Code section 203. See Holecek Decl., Ex. B, Compl. ¶¶ 127–131.
          17              36.    If an employer willfully fails to pay all wages due to an employee at the
          18        time of termination, as required by Labor Code Section 201, or within 72 hours after
          19        resignation, as required by Labor Code Section 202, then the wages “shall continue as a
          20        penalty from the due date thereof at the same rate until paid or until an action therefor is
          21        commenced,” for up to a maximum of 30 calendar days. Cal. Lab. Code § 203. An
          22        employer may not be liable for these penalties if a good faith dispute exists as to whether
          23        the wages are owed.
          24              37.    To calculate waiting time penalties, the employee’s daily rate of pay is
          25        multiplied by a maximum of 30 days, depending on the length of delay in receipt of
          26        wages. See Mamika v. Barca, 68 Cal. App. 4th 487, 493 (1998) (holding that the waiting
          27        time penalty is “equivalent to the employee’s daily wages for each day he or she
          28        remained unpaid up to a total of 30 days” and noting that the “critical computation” is

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            1       “the calculation of a daily wage rate, which can then be multiplied by the number of
            2       days of nonpayment, up to 30 days”); Tajonar v. Echosphere, L.L.C., 2015 WL 4064642,
            3       at *4 (S.D. Cal. July 2, 2015) (same). Where final “wages [due] are alleged to have not
            4       been paid, the full thirty-days may be used for each of the putative class members.”
            5       Marentes v. Key Energy Servs. Cal., Inc., 2015 WL 756516, at *9 (E.D. Cal. Feb. 23,
            6       2015); see also Crummie v. CertifiedSafety, Inc., 2017 4544747, at *3 (N.D. Cal. Oct.
            7       11, 2017) (where plaintiffs alleges “putative class members were owed (and are still
            8       owed)” wages, it is “completely reasonable to assume waiting time penalties accrued to
            9       the thirty-day limit”).
          10                38.   Amazon denies that any such penalties are owed to Plaintiff or any putative
          11        class members. However, for purposes of this jurisdictional analysis only, Amazon
          12        relies on Plaintiff’s allegations that the penalties are owed. Plaintiff alleges that Amazon
          13        “willful[ly] failed to pay” “minimum wages, overtime compensation, and meal and rest
          14        period compensation” “upon termination or within 72 hours of resignation, as required”
          15        by Labor Code sections 201 and 202. Holecek Decl., Ex. B, Compl. ¶¶ 128, 130.
          16        Plaintiff’s claim is therefore derivative of their other unpaid wage claims. Plaintiff
          17        further alleges that he and other putative class members are “entitled to payment of their
          18        overtime, meal and rest periods . . . and in wait time penalties . . . calculated based on
          19        30 days of the[ir] daily wage rate” under Labor Code section 203. Id. ¶¶ 130–131. Based
          20        on these allegations, it is reasonable to assume that each putative class member is entitled
          21        to the thirty days’ wages. See Crummie, 2017 4544747, at *3.
          22                39.   There were at least 10,000 DPs in California between August 21, 2019 and
          23        August 21, 2020. Holecek Decl, Ex. J, Harwysz Decl. ¶ 5. Of those individuals, at least
          24        4,000 offboarded from the Amazon Flex platform and ceased performing delivery
          25        services for Amazon during that same time period. Id. ¶ 5. 5
          26
          27         5
                         The statute of limitations for an action under Labor Code § 203 is three years, so the
                         actual amount placed in controversy by this claim is higher. Cal. Civ. Proc. Code §
          28             338(a); Cal. Lab. Code § 203(b); Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389, 1397
                         (2010).
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            1               40.   From January 1, 2019 to December 31, 2019, the state minimum wage was
            2       $12.00 per hour. See https://www.dir.ca.gov/dlse/faq_minimumwage.htm. Although
            3       the minimum wage increased on January 1, 2020, Amazon conservatively assumes that
            4       each DP would be entitled to waiting time penalties based on an hourly rate of pay of
            5       $12.00.
            6               41.   If, as Plaintiff alleges, DPs who ceased performing delivery services for
            7       Amazon between August 21, 2019 and August 21, 2020 were owed wages and did not
            8       receive them, the amount in controversy with respect to the waiting time penalties claim
            9       for these individuals alone would be approximately $1.44 million, calculated as follows:
          10             $12.00 hourly rate x 1 hour per day: 6                          $12.00 daily rate
          11             $12 x 30 days maximum penalty:                                    $360 per DP
                         Amount in controversy for waiting time penalties, based on
          12                                                                                $1,440,000
                         Plaintiff’s allegations ($360 x 4,000 DPs):
          13
                            42.   Accordingly, Plaintiff’s claim for waiting time penalties due to unpaid
          14
                    wages places an additional $1.44 million in controversy. Taken together, Plaintiff’s
          15
                    claims for intentional misclassification, inaccurate wage statements, and waiting time
          16
                    penalties place at least $9.34 million in controversy, thus exceeding CAFA’s $5 million
          17
                    threshold.
          18
                            4.    Plaintiff’s Request for Attorneys’ Fees Places An Additional $2.33
          19
                                  Million In Controversy
          20
                            43.   Plaintiff also explicitly seeks attorneys’ fees should he recover under for
          21
                    any of the claims in this action. See Holecek Decl., Ex. B, Compl., Prayer For Relief.
          22
                    Prospective attorneys’ fees are properly included in the amount in controversy for
          23
                    purposes of evaluating CAFA jurisdiction. See Arias, 936 F.3d at 922 (“[W]hen a statute
          24
                    or contract provides for the recovery of attorneys’ fees, prospective attorneys’ fees must
          25
                    be included in the assessment of the amount in controversy”). Under the Ninth Circuit’s
          26
                    well-established precedent, 25% of the common fund is generally used as a benchmark
          27
          28         6
                         This is a conservative estimate based on the fact that delivery blocks are typically 2
                         to 6 hours. See https://flex.amazon.com/faq.
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            1       for an award of attorney fees. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th
            2       Cir. 1998); Barcia v. Contain-A-Way, Inc., 2009 WL 587844, at *5 (S.D. Cal., Mar. 6,
            3       2009) (“In wage and hour cases, ‘[t]wenty-five percent is considered a benchmark for
            4       attorneys’ fees in common fund cases.’”).
            5             44.     Here, Amazon has established that the total amount in controversy is at
            6       least $9.34 million based on Plaintiff’s intentional misclassification, wage statement,
            7       and waiting time penalty claims, and Plaintiff has not indicated that he will seek less
            8       than 25% of a common fund in attorneys’ fees. See Holecek Decl., Ex. B, Compl.,
            9       Prayer For Relief (seeking attorneys’ fees). Although Amazon has shown that the
          10        amount in controversy absent attorneys’ fees surpasses the jurisdictional threshold, this
          11        Court should nevertheless include the potential attorneys’ fees in evaluating jurisdiction.
          12        Arias, 936 F.3d at 922. Amazon denies that any such attorneys’ fees are owed to Plaintiff
          13        or putative class members. However, for purposes of this jurisdictional analysis only,
          14        Amazon relies on Plaintiff’s allegations that the attorneys’ fees are owed.
          15              45.    Using a twenty-five percent benchmark figure for attorneys’ fees for
          16        Plaintiff’s allegations regarding his intentional misclassification, wage statement, and
          17        waiting time penalty claims results in estimated attorney’s fees of approximately $2.33
          18        million, calculated as follows:
          19               Conservative Estimate of Amount in Controversy from
                           Intentional Misclassification, Wage Statement, and
          20               Waiting Time Penalties Claims:                                 $9,340,000
          21               Attorneys’ Fees Benchmark:                                              25%
          22               Attorneys’ Fees:                                               $2,335,000
          23              5.     In Total, Just Three of Plaintiff’s Eight Causes of Action, Including
          24                     Attorneys’ Fees, Places More Than $11.6 Million In Controversy
          25              46.    Plaintiff’s   allegations   regarding    Amazon’s       alleged    intentional
          26        misclassification, failure to provide accurate wage statements, and failure to timely pay
          27        wages or waiting time penalties place $9.34 million in controversy and Plaintiff’s
          28        request for attorneys’ fees places an additional $2.33 million in controversy. In total,
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            1       this means that Plaintiff’s Complaint conservatively places at least $11.6 million in
            2       controversy.
            3               47.    These figures are under-inclusive of the actual amount in controversy
            4       because they are based on conservative assumptions about Plaintiff’s putative class
            5       allegations, including regarding the size of the putative class and the rate of which the
            6       alleged Labor Code violations occurred, and do not account for, among other things, any
            7       recovery sought for failure to pay all wages when due (Second Cause of Action), failure
            8       to pay minimum wages (Third Cause of Action), failure to reimburse business expenses
            9       (Fourth Cause of Action), failure to provide meal and rest periods (Fifth Cause of
          10        Action), or Unfair Competition Law violations (Eighth Cause of Action).
          11                48.    Plaintiff’s allegations therefore place more than the requisite $5 million in
          12        controversy. The jurisdictional amount in controversy requirement is met, and removal
          13        to this Court is proper under CAFA.
          14           III.       THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER
          15                49.    Based on the foregoing facts and allegations, this Court has original
          16        jurisdiction over this action pursuant to 28 U.S.C. § 1332(d) because:
          17                       a)   This is a civil action which is a class action within the meaning of
          18                            § 1332(d)(1)(B);
          19                       b)   The action involves a putative class of at least 100 persons as required
          20                            by § 1332(d)(5)(B);
          21                       c)   The amount in controversy exceeds $5 million, exclusive of interest
          22                            and costs, as required by § 1332(d)(2); and
          23                       d)   At least one member of the putative class is a citizen of a state different
          24                            from that of any defendant as required by § 1332(d)(2)(A).
          25        Accordingly, this action is properly removable under 28 U.S.C. §§ 1441, 1446, and
          26        1453.
          27                50.    The United States District Court for Central District of California is the
          28        federal judicial district in which the Los Angeles County Superior Court sits. This action

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            1       was originally filed in the Los Angeles County Superior Court, rendering venue in this
            2       federal judicial district proper. 28 U.S.C. § 84(c); see also 28 U.S.C. § 1441(a).
            3                51.   True and correct copies of the (a) Summons, (b) Class Action Complaint,
            4       (c) Civil Case Cover Sheet, (d) Civil Case Cover Sheet Addendum and Statement of
            5       Location, (e) Notice of Case Assignment – Unlimited Civil Case, (f) Initial Status
            6       Conference Order, (g) Minute Order Regarding Newly Filed Class Action, (h) Clerk’s
            7       Certificate of Mailing, (i) Proof of Service of Summons on Amazon.com Services LLC,
            8       and (j) Proof of Service of Summons on “Amazon Flex” are attached as Exhibits A–J to
            9       the Declaration of Michael Holecek, filed concurrently here. These filings constitute the
          10        complete record of all records and proceedings in the state court.
          11                 52.   Upon filing the Notice of Removal, Amazon will furnish written notice to
          12        Plaintiff’s counsel, and will file and serve a copy of this Notice with the Clerk of the Los
          13        Angeles County Superior Court, pursuant to 28 U.S.C. § 1446(d).
          14
                    Dated: January 15, 2021
          15
                                                            MICHAEL HOLECEK
          16                                                LAUREN M. BLAS
                                                            MEGAN COONEY
          17                                                GIBSON, DUNN & CRUTCHER LLP
          18
          19                                                By: /s/ Michael Holecek
                                                                            Michael Holecek
          20
                                                            Attorneys for Defendants
          21                                                AMAZON.COM SERVICES LLC and
                                                            AMAZON LOGISTICS, INC. (erroneously
          22                                                sued as AMAZON FLEX, a business entity of
                                                            unknown form)
          23        104326919.3

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